                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                        EASTERN (DUBUQUE) DIVISION


 UNITED STATES OF AMERICA,                    )
                                              )
               Plaintiff,                     )
                                              )
         vs.                                  )   No. 22-CR-1002
                                              )
 MATTHEW DANIEL BIRCH,                        )
                                              )
               Defendant.                     )

               UNITED STATES RESISTANCE TO DEFENDANT’S
                   MOTION FOR DOWNWARD VARIANCE

        The United States hereby resists defendant’s motion for a downward

variance, filed at Docket 57.

   I.      Legal Framework

        When fashioning a sentence that is sufficient but not greater than necessary,

the Court must consider the factors enumerated in 18 U.S.C. § 3553(a). Those

factors include but are not limited to: (1) the nature of the offense and the history

and characteristics of the defendant; (2) the need for the sentence imposed to reflect

the seriousness of the offense, to promote respect for the law, to provide just

punishment for the offense, to afford adequate deterrence to criminal conduct, and

to protect the public from further crimes of the defendant; and (3) the need to avoid

unwarranted sentence disparities among defendants with similar records who have

been found guilty of similar conduct. See 18 U.S.C. § 3553(a). A sentence within

the guidelines range is presumptively reasonable. See United States v. Coleman,




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635 F.3d 380, 382 (8th Cir. 2011) (citing United States v. Bauer, 626 F.3d 1004,

1010 (8th Cir. 2010)).

   II.      The Offense Conduct

         The nature of the offense in this case is serious, as it involves defendant’s

involvement with more than a pound of ice methamphetamine.

         This case consists of defendant’s pattern of distributing methamphetamine

from 2019 until 2021. Throughout 2019, defendant sold six ounces of ice

methamphetamine to a confidential informant (Docket 46, PSR at ¶ 8). In

December 2019, defendant was driving a vehicle with 36 grams of ice

methamphetamine (PSR at ¶ 5), and he also sold 24 grams of ice methamphetamine

to a confidential informant (PSR at ¶¶ 6–7). In November 2021, law enforcement

initiated a traffic stop on a vehicle that defendant was driving. (PSR at ¶ 12.)

Defendant backed up into an officer’s vehicle, and he then attempted to drive

around other officers to evade the police. (PSR at ¶ 12.) Law enforcement had to

place stop sticks under defendant’s tires to prevent him from fleeing. (PSR at ¶ 12.)

In the car and belonging to defendant were $39,729 in drug proceeds, 279.69 grams

of ice methamphetamine, and a drug ledger. (PSR at ¶ 15.) In total, over the course

of three years, defendant played a critical role in distributing at least 510.15 grams

of ice methamphetamine. (PSR at ¶ 18.)

         The November 2021 traffic stop is not the only example of defendant’s

troubling history of dangerous interactions with law enforcement. In April 2020,

defendant was ordered to stop by law enforcement, but he did not listen and had to



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be forcefully taken to the ground and secured in handcuffs; on defendant’s person,

officers located a large knife, a pipe, and $6,210 in drug-trafficking proceeds. (PSR

at ¶ 10.) In April 2021, defendant, driving without a valid driver’s license and with

unlawfully tinted windows, eluded the police by driving erratically and at high

speeds (up to 66 miles per hour in a 25 mile-per-hour zone). (PSR at ¶ 9.) While

conducting this dangerous behavior, defendant drove near an elementary school

while there were numerous children outside. (PSR at ¶ 9.) In September 2021,

after officers initiated a traffic stop on a vehicle that defendant was driving,

defendant gave a false identity and drove away. (PSR at ¶ 11.) This sparked a

high-speed pursuit, in which defendant drove 100 miles per hour in a 40

mile-per-hour zone. (PSR at ¶ 11.)

   III.     Other Aggravating Factors

       In addition to the serious nature and circumstance of the offense, there are

other aggravating factors. First, defendant’s criminal history is aggravating.

Defendant has multiple violent convictions, including going armed with intent in

1998 (PSR at ¶ 34), false imprisonment in 2008 in which defendant hit someone in

the face and nose several times (PSR at ¶ 37), assault with injury in 2008 (PSR

at ¶ 38), and domestic abuse assault causing bodily injury and harassment in the

first degree in 2012 in which defendant got upset when someone refused to hand

him keys to her vehicle so he pulled her to the ground by her hair, punched her

while she was down, and later violated a no-contact or protective order (PSR

at ¶ 40).



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      Defendant has multiple convictions for interference with official acts in 2014

and 2015 (PSR at ¶¶ 42–43), and eluding once in 2020 and twice in 2021 (PSR

at ¶¶ 45–76).

      Defendant’s criminal history also includes a 2018 conviction for conspiracy in

which he asked a friend to claim a gambling jackpot and then give it to him so he

could avoid paying child support fees. (PSR at ¶ 44.)

      As for defendant’s criminal history related to substance abuse, he has an

operating while intoxicated or drugged conviction in 2012 (PSR at ¶ 39), and a 2001

conviction for possession of marijuana (PSR at ¶ 36).

      In addition, defendant has a poor history on supervised release. While under

supervision, he has failed to maintain employment, tested positive for

methamphetamine several times, failed to attend an appointment with his

supervising officer, violated a no-contact or protective order, and committed new

law violations including the instant offense. (PSR at ¶¶ 37, 40, 44, 49.)

      Defendant has committed crimes for over two decades, and he has not showed

signs of slowing down. His lengthy criminal history is violent and indicative of his

lack of respect for rules and the law.

      Second, defendant’s substance abuse, though identified by defendant as a

mitigating factor (Docket 57, Defendant’s Sentencing Memorandum at 9), should be

considered an aggravating factor. As an initial matter, the United States

Sentencing Guidelines note that “substance abuse is highly correlated to an

increased propensity to commit crimes” and so it “ordinarily is not a reason for a



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downward departure.” USSG §5H1.4. Moreover, a district court has wide

discretion to consider a defendant’s history of drug abuse as an aggravating factor

rather than a mitigating factor. See United States v. Poore, 838 F. App’x 217, 218

(8th Cir. 2021) (“The weight the district court gave to Poore’s extensive history of

drug abuse, considering it as an aggravating factor rather than a mitigating factor,

is within the district court’s wide discretion.”); United States v. Henry, 770 F. App’x

309, 311 (8th Cir. 2019) (“It was within the district court’s discretion to consider

Henry’s substance abuse history an aggravating factor.”); United States v. Smith,

656 F.3d 821, 826 (8th Cir. 2011) (“The district court considered several relevant

aggravating factors: that Smith had a history of alcohol and substance abuse …”).

In United States v. Hendrickson, the Court acknowledged that addiction could be

aggravating in certain circumstances and that it is not “limitlessly mitigating,”

especially when a defendant has had numerous opportunities for treatment. 25 F.

Supp. 3d 1166, 1175 (N.D. Iowa 2014).

      Here, defendant’s substance abuse is aggravating. He has abused multiple

drugs (PSR at ¶¶ 87–91), and he ended up in a ditch after operating a vehicle while

intoxicated or drugged (PSR at ¶ 39). Defendant has had treatment opportunities

in at least three substance abuse centers (PSR at ¶ 92), though he has not stayed

sober. Though defendant argues that his “conduct is born out of addiction,”

(Defendant’s Sentencing Memorandum at 9), the amount of methamphetamine that

he was involved with and his lack of employment show that he was taking financial

advantage of others who had a similar addiction to methamphetamine. He was not



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distributing methamphetamine solely to support his habit. Defendant’s substance

abuse implicates the sentencing objectives of deterrence, protection of the public,

and rehabilitation, and it is an aggravating rather than mitigating factor.

         Third, defendant’s inability to care for his children is aggravating. The

Eighth Circuit has noted that failure to pay child support is an aggravating factor

at sentencing. See Smith, 656 F.3d at 826. Here, defendant has several children,

but according to records from the Social Security Administration, he has zero

reported earnings in the past ten years. (PSR at ¶ 100.) That is not enough

legitimate income to support children. Indeed, he owes a total of $58,784.25 in

outstanding child support for the care of his children. (PSR at ¶ 102.)

Furthermore, when defendant won a gambling jackpot, he tried to get a friend to

claim the prize so that he could avoid paying child support. (PSR at ¶ 44.)

Defendant’s failure to care for his children is aggravating.

   IV.      The Aggravating Factors Outweigh Mitigating Factors in this
            Case, Such that a Motion for a Downward Variance is Not
            Appropriate

         Some mitigating factors may apply in this case. For example, defendant’s

childhood relationship with his father (PSR at ¶¶ 65, 67), mental health (PSR

at ¶¶ 82–86), and his acceptance of responsibility (Defendant’s Sentencing

Memorandum at 9), are mitigating.

         But the Court should reject defendant’s argument that he is entitled to a

downward variance because there is a disparity in how the Sentencing Guidelines

treat methamphetamine mixture compared to ice methamphetamine. (Defendant’s



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Sentencing Memorandum at 2–9.) Although district courts can disregard a

particular sentencing guideline on policy grounds, they are not required to do so.

In United States v. Beckman, the Eighth Circuit stated: “Yet, even assuming that a

sentencing court may disregard [a guideline] on pure policy grounds, the United

States Supreme Court has not held that a district court must disagree with any

sentencing guideline, whether it reflects a policy judgment of Congress or the

[Sentencing] Commission’s characteristic empirical approach.” 787 F.3d 466, 499

(8th Cir. 2015) (internal quotation marks omitted). Here, because the aggravating

facts are serious, the government asks that the Court decline to vary downward

based on the disparity between the Guidelines’ treatment of ice methamphetamine

and mixture methamphetamine.

      Finally, the United States acknowledges defendant’s numerous medical

conditions as serious (PSR at ¶¶ 74–81), however, those conditions have a limited

mitigating impact. Defendant is currently in poor health. While his medical

conditions may impact the defendant’s life expectancy, varying downward will not

impact his location or health in the immediate future, because he is going directly to

prison. Furthermore, the Bureau of Prisons has adequate medical facilities, and it

employs doctors, nurses, and other personnel with expertise in diagnosing and

treating medical conditions. The Bureau of Prisons will also be well-suited to

ensure that defendant is compliant with the doctor’s orders and that he maintains

his sobriety.




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      In total, the numerous aggravating factors outweigh any mitigating

elements. Accordingly, the government requests under 18 U.S.C. § 3553(a) that the

Court deny defendant’s motion for a downward variance.



                                     Respectfully submitted,

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